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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS



                                                               Civil Action
                                                               No: 21-11349-NMG

                                Sharon Riddick
                                  Petitioner

                                      v.

                       Boston Housing Authority, et al.
                                  Respondent




                            ORDER OF DISMISSAL

GORTON, D.J.


       In accordance with this Court’s adoption on 7/6/2022, of the Magistrates
Judge’s Report and Recommendation of dismissal, it is hereby ORDERED that the
above-entitled action be and hereby is dismissed.




                                                      By the Court,


                                                          /s/Douglas Warnock
                                                          Deputy Clerk




July 7, 2022

To: All Counsel
